Arthur S. Robinson

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
Civil Action, File No. 3:06-cv-00205-JWS

RONALD L. and DEBBIE L. HALSEY
AFFIDAVIT OF COUNSEL

PLAINTIFFS, IN SUPPORT OF
PLAINTIFFS' NON-OPPOSED
V. MOTION TO ACCEPT
ADMINISTRATOR, BRIEF PURSUANT TO

WAGE AND HOUR DIVISION, UNITED D.Ak. LR 16.3(d)(2)

STATES DEPARTMENT OF LABOR,

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DEFENDANTS. )
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STATE OF ALASKA )
)ss.
THIRD JUDICIAL DISTRICT >

ARTHUR S. ROBINSON, being first duly sworn, deposes and
states the following:

l. I am the attorney of record for plaintiffs in the above-
captioned matter.

2. Plaintiffs’ failure to timely file their opening brief
(motion for summary judgment) was an oversight on the part of my
paralegal, and, not intentional. My' paralegal Lynda Moore is
responsible for calendaring due dates in this matter. Apparently
Ms. Moore overlooked the fact that under D.Ak. LR 16.1
“Administrative Procedure Act appeals” are exempt from the
requirement of scheduling conferences and scheduling orders, and

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that opening briefs (motions for summary judgment) are actually
due 30 days after the agency‘ record. has been. filed 1Nith, the
Court. (See “First Motion for Extension of Time to File Brief“
at Docket 9, including Affidavits at Dockets 10 and 11.)

3. Pursuant to the Court's February 7, 2007 Order “Notice
of Intent to Dismiss for Plaintiff's Failure to File Opening
Brief”, Plaintiffs’ were given until February 27, 2007 to file
their opening brief (motion for summary judgment) together with a
motion to file a late brief in compliance with D.Ak. LR 16.3(d).

4. The Court granted my request for a 30-day extension to
file on behalf of Plaintiffs' their opening brief (motion for
summary judgment} together with a notion to file a late brief,
until March 29, 2007. (See “First Motion for Extension of Time
to File Brief” at Docket 9, including Affidavits at Dockets 10
and 11.) The Court granted the Motion for Extension of Time (see
“Order Granting Motion for Extension of Time to File Plaintiffs'
Opening Brief and Motion to File Brief Late Due on or Before
3/29/2007” at DOC}<;eC 12.

5. Defendant’s counsel, Richard L. Pomeroy, Assistant
United States Attorney, by email on March 26, 2007, indicated his
non-opposition to this motion to accept plaintiffs' late filed

brief.

FURTHER AFFIANT sAYETH 1\11':.1[5@.1+1'£.//l_)/.l§;y¢t § /

X§THUR“ s. ROBINSON

 

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SUBSCRIBED AND SWORN TO before me this 28th day of March,

 

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Affidavit of
Counsel in Support of Plaintiffs’ Non-Opposed Motion to Accept
Late Filed Brief was served electronically upon counsel for
Defendant’s counsel, Richard L. Pomeroy, Assistant United States
Attorney, this 28th day of March, 2007.

By: /s/ Arthur S. Robinson

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